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     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
     ------------------------------------------------------------}(
     JAMIE WEINBERG,
                                         Plaintiff,                     CV:16-00248
     v.                                                                        FILED
                                                                             IN CLERK'S OFFICE
                                                                       U.S. DISTRICT COURT E.D.N.Y.
     FORSTER & GARBUS LLP
     and PALISADES COLLECTION, LLC
                         Defendants.                                   *     MAY 27 2016        *
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                                                        LONG ISLANC OFFICE
                                NOTICE OF VOLUNTARY DISMISSAL

              PLEASE TAKE NOTICE, that pursuant to Rule 4l(a)(l)(A)(i) of the Federal

     Rules of Civil Procedure, Plaintiff, Jamie Weinberg, hereby voluntarily dismisses tbe

     above-entitled action against the defendants, Forster & Garbus LLP and Palisades

     Collection LLC with prejudice.



     Dated: 5125116                                        lsi Darren Aronow
                                                           Darren Aronow, ESQ.
                                                           The Law Office of Darren Aronow, PC
                                                           Attorney for Plaintiff
                                                           8B Commercial Street, Suite I
                                                           Hicksville, NY 1180 I
                                                           516-663-0970




  So Ordered. The Clerk of the Court is directed to close this case.




  s/ Arthur D. Spatt
